                  Case 1:19-cv-01285-RDA-JFA Document 1-1 Filed 10/08/19 Page 1 of 2 PageID# 57
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
         Fluet Huber + Hoang, PLLC
         1751 Pinnacle Drive, 10th Floor, Tysons, VA 22102
         (703) 590-1234

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                                                                                                        (For Diversity Cases Only)                                        and One Box for Defendant)
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                                          42 U.S.C. §§ 12131, et seq., 29 U.S.C. §§ 794, et seq., 42 U.S.C. § 1983, U.S. Const. amend am. IV & XIV
9, &$86(2)$&7,21 %ULHIGHVFULSWLRQRIFDXVH
                                          Violation of Civil and Constitutional Rights for systemic restraint and seclusion of students w/ disabilities.
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